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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )       Chapter 11
                                                                   )
                                         1
PGX HOLDINGS, INC, et al.,                                         )       Case No. 23-10718 (CTG)
                                                                   )
                                       Debtors.                    )       (Jointly Administered)
                                                                   )

                   NOTICE OF AMENDED AGENDA OF MATTERS SCHEDULED
                   FOR HEARING FOR NOVEMBER 28, 2023 AT 11:00 A.M. (ET)


     THIS HEARING HAS BEEN CANCELED AT THE DIRECTION OF THE COURT




INTERIM FEE APPLICATIONS:

1.        Interim Fee Applications for Professionals

                    Related Documents:

                              A.        Certification of Counsel Regarding First Omnibus Order Awarding
                                        Interim Allowance of Compensation for Services Rendered and
                                        Reimbursement of Expenses [Docket No. 631; Filed 11/22/2023]

                              B.        Proposed Order

                    Status:             A Certification of Counsel has been filed. The Court has directed
                                        that this hearing be canceled. After review of the certification
                                        and applications the Court will either enter the proposed order
                                        or set a further hearing.




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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
     PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580); Creditrepair.com Holdings, Inc. (7536);
     Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213); eFolks, LLC (5256); John C. Heath, Attorney At Law PC (8362);
     Progrexion ASG, Inc. (5153); Progrexion Holdings, Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc.
     (5073); and Progrexion Teleservices, Inc. (5110). The location of the Debtors’ service address for purposes of these chapter
     11 cases is: 257 East 200 South, Suite 1200, Salt Lake City, Utah 84111.


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Dated: November 22, 2023
Wilmington, Delaware

/s/ Michael W. Yurkewicz
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Co-Counsel to the Debtors and Debtors in         Co-Counsel to the Debtors and Debtors in
Possession                                       Possession




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